Case: 6:17-cr-00058-REW-HAI Doc #: 157 Filed: 11/06/20 Page: 1 of 2 - Page ID#: 535




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION
                                         LONDON

  UNITED STATES OF AMERICA,                      )
                                                 )
        Plaintiff,                               )             No. 6:17-CR-58-REW
                                                 )
  v.                                             )
                                                 )                     ORDER
  APRIL BOWLING,                                 )
                                                 )
        Defendant.                               )

                                           *** *** *** ***

         In October 2018, the Court sentenced Defendant April Bowling to a 206-month term of

 imprisonment for her role in a methamphetamine trafficking conspiracy. DE 142 (Judgment).

 Bowling, now an inmate at FCI Tallahassee, has filed a pro se motion seeking compassionate

 release. DE 156 (Motion). 18 U.S.C. § 3582 governs the request. It, as amended by the First Step

 Act of 2018 (Pub. L. No. 115-391, 132 Stat. 5194 (2018)), permits the Court, “upon motion of the

 Director of the Bureau of Prisons, or upon motion of the defendant[,]” either (1) “after the

 defendant has fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons

 to bring a motion on the defendant’s behalf or” (2) upon “the lapse of 30 days from the receipt of

 such a request by the warden of the defendant’s facility, whichever is earlier,” to “reduce the term

 of imprisonment . . . after considering the factors set forth in section 3553(a) to the extent that they

 are applicable, if it finds that . . . extraordinary and compelling reasons warrant such a reduction .

 . . and that such a reduction is consistent with applicable policy statements issued by the Sentencing

 Commission[.]” 18 U.S.C. § 3582(c)(1)(A)(i).

         On initial review of the motion and supporting documentation, it appears that Bowling has

 satisfied at least one § 3582(c)(1)(A) prerequisite, and such is sufficient to trigger judicial review.

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Case: 6:17-cr-00058-REW-HAI Doc #: 157 Filed: 11/06/20 Page: 2 of 2 - Page ID#: 536




 To her motion, Bowling attaches the email she received from the warden, which indicates that she

 requested compassionate release based on family members needing her support. DE 156-1. The

 warden’s email denying Bowling’s requests is dated August 17, 2020. Id. As more than 30 days

 elapsed between warden request submission and motion filing, Bowling demonstrates compliance

 with the statute. See United States v. Ruffin, No. 20-5748, 2020 WL 6268582, at *3 (6th Cir. Oct.

 26, 2020) (“As [the amended § 3582(c)(1)(A)] makes clear, defendants now may bring reduction-

 of-sentence motions on their own once they exhaust any administrative remedies or wait 30 days

 from the date they request relief from the Bureau of Prisons.”) (emphasis added).

        Accordingly, the Court ORDERS the United States to respond, addressing the merits of

 Bowling’s compassionate release request, within 14 days of this Order. Defendant MAY reply

 within 7 days of response filing. The Clerk shall promptly send a copy of this Order to Bowling.

        This the 6th day of November, 2020.




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